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                                                        October 2, 2024

     VIA ECF
     Honorable Renée Marie Bumb
     United States District Court
     Mitchell H. Cohen Building and
     U.S. Courthouse
     Courtroom 3D
     4th and Cooper Streets
     Camden, New Jersey 08101

                Re:        In re Valsartan, Losartan, and Irbesartan Products Liability
                           Litigation, MDL No. 19-2875 (RMB)

     Dear Chief Judge Bumb:

                Please accept this letter brief on behalf of the Plaintiffs in response to the

     Defendants’ submission with regard to testimony they assert implicates general

     causation in the upcoming trial.

                In summary, causation of physical injury is not an element of any claim in an

     economic loss trial, nor is it an element or consideration in awarding damages. The

     recall and the concessions by all Defendants that they could not sell the NDMA and

     NDEA contaminated pills were predicated only on the unacceptable risk, not on any
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  finding or assumption that the contamination would cause cancer, and the jury’s

  consideration of value must be framed in the context of the unacceptable risk

  rendering the pills adulterated and non-saleable. That is because the regulatory

  standards are framed in terms of risk only. Based on this, general causation should

  not be inserted into the trial, and the Court should give a limiting instruction as

  illustrated below so that the jury will be guided on the evidence and questions to be

  considered and answered.

        The Defendants mischaracterize the deposition excerpts identified in their

  submission. The excerpts quote regulatory terms and standards that address the

  concept of unacceptable risk, they are not statements of causation. The language that

  the defense focuses on is the core language of the regulations/guidances/internal

  SOPs addressing the risks of nitrosamine impurities in drugs. Causation is a higher

  standard than risk, and inapplicable in this trial, and it would be misleading and

  unduly prejudicial to inject causation of cancer into the trial.

        The Court correctly pinpointed the difference between regulatory risk and

  general causation, and precluded general causation from the trial, during the July 23,

  2024 case management conference: 1


  1
   In reliance on the Court’s ruling on July 23, 2024, Plaintiffs removed extensive
  general causation testimony from the designations.
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               CHIEF JUDGE BUMB: It's whether or not the presence
               of this carcinogen is enough to -- is enough to present a
               risk. Not whether it causes it, but is enough to present
               an unacceptable risk. Not whether it causes it or not.
               But is it really a risk worth taking?

               So, you know, the way I think of it is -- you know, I know
               it's not an FDA, it must be the Consumer Protection
               Bureau, whatever, whoever. If -- I mean, if they take a – it
               used to be the chocolate eggs with the toy inside.

                                           * * *

               MS. LOCKARD: Well, and that is, I think, a way that
               could be presented. It's not -- we're not asking whether it
               actually caused cancer in anyone. But we do have to
               quantify the risk in a way.

               I mean, the worthlessness piece of it is, it is the safety
               profile of the drug. And, you know, in order for us to be
               able to talk about whether the drug is safe, is it effective,
               was it worth anything, would anybody pay money for this,
               did anybody pay money for this, you have to look at those
               issues related around the risk of cancer.2

               The alternative is if they just want to say --

               CHIEF JUDGE BUMB: No, I don't think so. Sorry to
               interrupt. But I don't think so. I think that if the studies

  2
    This part of defense counsel’s argument highlights the fallacy in the defense’s
  approach, which is merely theoretical and untethered from reality. Defense counsel
  suggested that if the contamination did not create a significant risk of cancer the
  efficacy would outweigh the risk, and a patient would see value and buy the pills.
  The reality is that due to the defined risk in regulatory law the pills could not be sold
  (as admitted by all Defendants) and no patient would ever have the opportunity to
  weigh the benefit and risk as suggested.
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             show that you shouldn't have any of this present, then you
             shouldn't. If there's studies that show, well, it's okay if you
             have just, you know, a minimum, whatever, a trace,
             whatever, then it's okay. That's -- that's the case. Not
             whether or not, well, if you do have this, it's going to cause
             cancer, it might cause cancer. It's either what the studies
             show. The studies show you shouldn't have any or the
             studies show it's okay to have just a little. That's what it is.
             Not whether or not if you have just a little whether it
             causes it or not. That's -- now we're getting into an area
             where we shouldn't be getting into.

             So I think we have to limit what goes before the jury.

                                         * * *

             CHIEF JUDGE BUMB: You can present studies that
             say that small doses don't present an unacceptable risk.
             But you cannot talk about: Because it causes cancer, et
             cetera. Because that's not necessary to this case.

             You could present evidence that says there should be
             no contaminants, period. You can present evidence
             that says it's okay to have, you know, a trace or
             whatever percentage it is, period. But you can't go into:
             And the reason why it's okay is because they don't find
             that it causes cancer, whatever, no. That's not in the
             case.

                                         * * *

             CHIEF JUDGE BUMB: Which is why I think we are
             arguing over something that I don't think we need to be
             arguing about, because it seems to me that once it was
             known that NDMA was present, everyone agreed you
             couldn't sell it.
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              Now, the argument is going to be, well, what about pre-
              recall, were they entirely worthless? And I think for
              the plaintiff to say, yes, they were because they
              contained the contaminant, the plaintiff can argue
              that.

              The defendants can say, there's literature out there
              that would say that, you know, if it's just, you know, a
              smallest of percentage, it's -- it's still acceptable, it's not
              worthless, then they can do that. But it can't delve into
              "because it doesn't cause cancer or the risk of cancer."
              You can't delve into that.

  (7/23/24 Tr., 212:10-18, 213:7-214:7, 215:20-216:4, 218:15-219:3).3

        The Court’s analysis is consistent with the testimony from the parties and their

  contemporaneous communications about the recall, confirming that the

  contaminated drugs could not be sold because of the risk posed by NDMA and

  NDEA. Actual causation of cancer was not necessary or even implicated in the

  question of whether the pills could be sold. Accordingly, the economic loss claim is

  predicated on the unacceptable risk that rendered the drugs non-saleable. For



  3
    There are no “studies” addressing the amount that was permitted from a regulatory
  standpoint. The subject is controlled by the applicable regulatory guidances, for
  example ICH Q3A, the 2008 FDA Guidance regarding genotoxic impurities in
  drugs, the internal ZHP SOP addressing genotoxic impurities, and others. Those are
  the rules that supply the framework within which the risk is evaluated and deemed
  acceptable or unacceptable. And the FDA ultimately set limits after the disclosure
  of the contamination, which are exceeded by all of the contaminated valsartan at
  issue.
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  example, ZHP’s press release announcing and explaining the reason for the recall

  included language mandated by the FDA:             the contamination presented an

  “unacceptable carcinogenic risk to the intended patient population.” This

  notwithstanding that in the next sentence ZHP stated that as of the date of the recall

  there had been no reports of adverse events related to the contamination.

  (SOLCO00024231 (Ex. 1 hereto); SOLCO00024226 (Ex. 2 hereto)).                    Thus,

  “unacceptable risk,” is the terminology that is relevant and applicable here, as found

  by the Court at the July 23, 2024 conference.

        The Defendants were legally required to know and comply with the regulatory

  standards that controlled, and the Court should not allow Defendants to reference

  or rely on a higher causation standard that was not applicable. Injecting

  considerations of dose and causation of cancer will only distract, confuse, and

  mislead the jury into focusing on concepts and arguments that are legally irrelevant,

  and questions that won’t be asked of the jury at this trial. On the other hand,

  causation will be an issue tried in the personal injury/cancer cases.

        Accordingly, the most appropriate way to address this issue is a jury

  instruction from the Court, explaining that the jury is considering the concept of risk

  in a regulatory context, and not medical causation, and to consider the evidence

  accordingly. Plaintiffs propose the following instruction:
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              During the course of the trial you will hear/have heard
              terms that address the concept of risk when talking about
              the contamination of the at-issue valsartan containing
              drugs. Those terms include, for example, genotoxic,
              mutagenic, probable human carcinogen, carcinogenic risk,
              and unacceptable carcinogenic risk. Those, and similar
              terms you will hear during the trial are relevant to your
              understanding and consideration of the materiality of the
              risk resulting from the actions by the Defendants, in
              manufacturing, marketing, and selling the pills
              contaminated with NDMA and NDEA.

              You are not determining whether or not the amount of
              NDMA and NDEA in the contaminated pills was or was
              not capable of causing cancer in the people who took them,
              or whether or not cancer was diagnosed in any person as a
              result. That is not a relevant consideration in this trial, and
              the parties will not be presenting evidence or making
              arguments intended to establish whether or not the amount
              of contamination in the pills was or was not capable of
              causing cancer in the people who took them. That issue is
              not relevant to the questions you will answer at the end of
              the case. Again, the relevant standards address whether the
              risk was or was not acceptable, from a regulatory
              standpoint.

        The use of a limiting/clarifying instruction is a well-established tool to address

  this issue. Branch v. Temple Univ., No. 21-3099, 2023 WL 3993016, at *4 (3d Cir.

  June 14, 2023) (affirming the trial court’s use of a limiting instruction to admit

  evidence for specific purposes).

        Review of the deposition excerpts selected by the Defendants, with the

  context explained, and with the foregoing principles and proposed instruction in
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  mind, demonstrates that there will be no prejudice to any party in applying the

  applicable regulatory standards.

  Min Li, 322:2-8, 322:17-323:13:

  This excerpt discusses the European regulatory Guidelines with regard to the Limits

  on Genotoxic Impurities in drugs, which was referenced in ZHP’s amendment to the

  DMF filed in December 2013 with regard to the use of the zinc chloride

  manufacturing process. The language of the Guideline is phrased only in terms of

  “potential” and “risk.”

  Min Li, 329:18-331:5:

  This excerpt also discusses the European regulatory Guidelines. The testimony that

  is designated is phrased in terms of risk, explaining that the standard thresholds

  relied on by ZHP do not apply to “high potency structural groups,” such as n-nitroso

  compounds, which includes NDMA and NDEA. Min Li’s responses point out that

  the principles were “derived from animal studies,” and that this is merely stating that

  there is a high probability of a risk existing, thus the concept of risk is introduced,

  with ZHP’s explanation and attempt to downplay the standards as being based on

  animal studies.
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  Min Li, 333:10-22:

  This excerpt simply confirms that due to the risk, as defined with the exact phrasing

  in the regulatory guideline, it was not acceptable to sell the contaminated valsartan—

  which no Defendant disputes. This is the regulatory question at issue in this case.

  Min Li, 381:13-382:17:

  This excerpt discusses the ICH M7 Guideline, “Assessment and Control of DNA

  Reactive (Mutagenic) Impurities in Pharmaceuticals to Limit Potential Carcinogenic

  Risk.” Plaintiff has withdrawn 381:20-382:4. The witness very clearly testifies that

  this guideline is intended to limit potential carcinogenic risk from genotoxic

  impurities in drugs, consistent with the title of the regulatory guideline - which is the

  same guideline cited by the FDA in its Warning Letter to ZHP as having particular

  significance in this context.

  Min Li, 469:5-18:

  This excerpt also addresses the M7 Guideline, which is framed in terms of risk,

  beginning with the title.

  Min Li, 471:13-472:14:

  This excerpt discusses the limits established by the FDA after ZHP finally disclosed

  the contamination, and the witness points out that the limits were set pursuant to the

  M7 guideline to limit “potential carcinogenic risk.”
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  Min Li, 667:21-668:17:

  This excerpt discusses the World Health Organization’s Concise International

  Chemical Assessment Document 38 regarding NDMA, and points out that IARC

  classified NDMA as a probable human carcinogen based on animal study data, and

  the question is phrased in terms of “risks to humans as compared to animals.”

  Min Li, 669:11-21:

  This excerpt simply confirms that NDMA and NDEA are genotoxic substances.

  That is the basis for their regulatory treatment.

  Min Li, 685:11-687:4:

  This excerpt addresses Min Li’s testimony that the risk was established based on

  animal studies—and the witness testified that animal studies are relied on because it

  would be unethical to perform such studies on humans due to the risks. He points

  out that the same principle would apply to knowingly giving humans valsartan with

  the levels of contamination found in the pills here—because of the risk.

  Min Li, 696:3-697:4:

  This excerpt addresses a peer-reviewed scientific article cited by ZHP in its own

  Deviation Investigation Report, confirming the risk posed by NDMA, which is

  acknowledged by the witness.
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  Min Li, 699:24-700:11:

  This excerpt confirms that, in the witness’s own words (it was Min Li who

  introduced the concept that knowingly giving NDMA to people would be unethical),

  if ZHP or anyone else knowingly sold the valsartan contaminated at the levels shown

  in ZHP’s valsartan, that would be unethical. The witness was not asked, nor did he

  confirm, that the NDMA in the pills at issue would cause cancer, as his testimony

  was framed in terms of risk.

  Jucai Ge, 174:18-175:2:

  This excerpt addresses one of the only studies performed regarding causation of

  cancer due to the contaminated valsartan pills, which the witness brought to the

  deposition. The question simply points out that the study authors supported the need

  for the recall. Plaintiffs deleted the last few words of the statement quoted out of

  extra caution, which stated “to protect the public health.”

  Peng Dong, 45:8-46:11:

  This excerpt addresses the language of a 2011 ZHP internal SOP regarding the need

  to identify and control genotoxic impurities in ZHP’s drug substances. It simply

  identifies the general risk of genotoxic substances, phrased in terms of “potentially”

  and “may.” Again, this is ZHP’s own SOP which was implemented to comply with

  the applicable regulatory cGMP rules with regard to genotoxic impurities.
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  Peng Dong, 370:24-371:19:

  This excerpt addresses the EMA guideline on genotoxic impurities, and focuses on

  the regulatory framework that provided that due to the risk posed by genotoxic

  substances, there is no threshold applied to the amount that may be permitted as an

  impurity in a drug. Defendants cannot be permitted to mislead the jury into thinking

  that it can reject the applicability of this and the other controlling regulatory

  guidances if it finds that the dose of contamination in the pills was not enough to

  cause cancer. That is not the law.

  Peng Dong, 382:14-20:

  This excerpt does not include 382:18-20, which was withdrawn. It accurately

  describes what NDMA is. As a potent genotoxic carcinogen, NDMA impurity was

  required to be identified and controlled. This is the regulatory law that applies to

  this case.

  Xiaodi Guo, 176:3-9:

  This is an article written by the witness, a ZHP employee, describing the risk posed

  by genotoxic impurities.

  Eric Gu, 366:8-16:

  This excerpt addresses the November 2018 FDA Warning Letter and the root cause

  of the contamination—and accurately describes NDMA as a “probable human
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  carcinogen.” Again, that is the reason for the strict regulatory treatment of NDMA

  and NDEA, which is the subject of the trial.

  Eric Gu, 386:12-21:

  This excerpt addresses the EMA guidelines relied on and known to ZHP, and

  accurately quotes from the guideline with regard to the category of “very potent

  genotoxic carcinogens” that required heightened vigilance, including NDMA and

  NDEA. This is all a function of risk.

  Lijie Wang, 78:1-4:

  This excerpt has been withdrawn.

  Lijie Wang, 80:3-16:

  This excerpt addresses the regulations governing genotoxic impurities. The question

  is phrased only in terms of risk.

  Lijie Wang, 82:14-83:4, 83:17-20:

  This excerpt discusses Prinston’s reliance on the manufacturer, ZHP, to identify and

  address unsafe genotoxic impurities. If necessary, the word “unsafe” can be edited

  from the designation.

  Lijie Wang, 152:19-153:9:

  This excerpt confirms that NDMA and NDEA are within the cohort of concern of

  high potency mutagenic carcinogen impurities—which are not subject to the
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  threshold approach per the terms of the controlling regulatory guidances. The

  threshold approach was relied on by ZHP, and is relied on by its expert Dr. Afnan,

  though it was inapplicable to the most potent genotoxic impurities.              These

  regulations establish the standards ZHP was required to comply with and use of the

  controlling language at trial is both reasonable and required. Injection of dose and

  general causation evidence by the defense in an effort to undercut the controlling

  legal standards should not be permitted.

                                       Conclusion

        Plaintiffs request that the Court maintain its ruling that the parties can discuss

  the contamination in terms of risk, precluding the legally inapplicable and irrelevant

  concept of causation of cancer from being introduced or relied on at trial, and instruct

  the jury regarding the distinction between risk and causation. The alternative

  suggested by the defense invites confusion and undue prejudice, and will require

  extensive general causation related testimony to be added back to the designations,

  and for the parties to call additional witnesses, lengthening and unnecessarily

  complicating the trial.

                                                 Respectfully,


                                                 ADAM M. SLATER
  Cc: All counsel of record (via ECF)
